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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 GOVERNMENT EMPLOYEES INSURANCE
 COMPANY, GEICO INDEMNITY COMPANY,
 GEICO GENERAL INSURANCE COMPANY and
 GEICO CASUALTY COMPANY,                                            Docket No.: 1:22-cv-02834
                                                                    (PKC)(MMH)
                                 Plaintiffs,

                     -against-

  ELENA BORISOVNA STYBEL, D.O., ELENA
  BORISOVNA STYBEL, M.D. (A Sole
  Proprietorship), EVERGREEN & REMEGONE LLC,
  YANA MIRONOVICH, NEW YORK BILLING
  AND PROCESSING CORP., ERIC MELADZE,
  BLUE TECH SUPPLIES INC., SUNSTONE
  SERVICES INC., and JOHN DOE DEFENDANTS
  “1” through “10”,

                          Defendants.
  -------------------------------------X
                  CERTIFICATE OF DEFAULT REGARDING
                        SUNSTONE SERVICES INC.

         I, BRENNA B. MAHONEY, Clerk of the United States District Court for the Eastern

  District of New York, do hereby certify that the Defendant, Sunstone Services Inc., has not filed

  an answer or otherwise moved with respect to the Amended Complaint herein. The default of

  Defendant Sunstone Services Inc., is hereby noted pursuant to Rule 55(a) of the Federal Rules of

  Civil Procedure.


  Dated: Brooklyn, New York
          April 5, 2023
                                                              BRENNA B. MAHONEY
                                                                Clerk of the Court



                                                              By:
                                                                     Deputy Clerk
